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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA )
                         )
    v.                   )                             CR217-034
                         )
GONZALO MENDOZA CARDENAS )

                        NOTICE OF FINAL FORFEITURE

      On December 19, 2017, this Court entered a Consent Order of Forfeiture. See

Dkt. No. 232. From January 12, 2018 through February 10, 2018, the United States

published via www.forfeiture.gov notice of the Court’s order and of the government’s

intention to dispose of one FMK 9mm caliber pistol bearing serial number BUG0075

and twenty rounds of 9mm caliber ammunition (hereinafter, the “Subject Property”).

See Dkt. No. 263. Said notice further notified all third parties of the right to petition

the Court within 60 days for a hearing to adjudicate the validity of any alleged legal

interest in the Subject Property. Id.

      Additionally, on January 12, 2018, the United States sent personal notice to

Dabid Mendoza a/k/a Dubid Mendoza via Certified Mail, Return Receipt Requested

notifying him of the forfeiture, the government’s intention with respect to the Subject

Property, and his right to contest the forfeiture within 30 days of his receipt of the

direct notice. See Dkt. No. 246. On March 26, 2018, via First-Class Mail, the United

States sent a second notice to Dabid Mendoza a/k/a Dubid Mendoza. See Dkt. No. 278.

It appears from the record that no petition contesting forfeiture was filed within the

time permitted by 21 U.S.C. § 853(n)(2).
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      Accordingly, NOTICE IS HEREBY GIVEN that, pursuant to Rule 32.2(c)(2)

of the Federal Rules of Criminal Procedure, the Order of Forfeiture has become final

as to all persons by operation of law. All right, title, and interest in the Subject

Property, whether real, personal, or mixed, has been forfeited to the United States

for disposition according to law.

      This 1st day of March, 2019.

                                      BOBBY L. CHRISTINE
                                      UNITED STATES ATTORNEY

                                      /s/ Xavier A. Cunningham
                                      ___________________________
                                      Xavier A. Cunningham
                                      Assistant United States Attorney
                                      New York Bar No. 5269477
P.O. Box 8970
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(912) 652-4422




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                           CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the Notice of Electronic Filing that was generated as a result of

electronic filing in this Court.

      This 1st day of March, 2019.


                                        /s/ Xavier A. Cunningham
                                        ___________________________
                                        Xavier A. Cunningham
                                        Assistant United States Attorney
                                        New York Bar No. 5269477
